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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Orlando Garcia,                           Case No.

 12               Plaintiff,
                                                  Complaint For Damages And
 13       v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
 14     5860 N. Figueroa Street, LLC, a           Act; Unruh Civil Rights Act
        California Limited Liability
 15     Company; and Does 1-10,

 16               Defendants.

 17
 18         Plaintiff Orlando Garcia complains of 5860 N. Figueroa Street, LLC, a

 19   California Limited Liability Company; and Does 1-10 (“Defendants”), and

 20   alleges as follows:

 21
 22     PARTIES:

 23     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

 24   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

 25   dexterity issues. He uses a wheelchair for mobility.

 26     2. Defendant 5860 N. Figueroa Street, LLC owned the real property

 27   located at or about 5860 N Figueroa St, Los Angeles, California, in July 2020.

 28     3. Defendant 5860 N. Figueroa Street, LLC owns the real property located


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  1   at or about 5860 N Figueroa St, Los Angeles, California, currently.
  2     4. Plaintiff does not know the true names of Defendants, their business
  3   capacities, their ownership connection to the property and business, or their
  4   relative responsibilities in causing the access violations herein complained of,
  5   and alleges a joint venture and common enterprise by all such Defendants.
  6   Plaintiff is informed and believes that each of the Defendants herein,
  7   including Does 1 through 10, inclusive, is responsible in some capacity for the
  8   events herein alleged, or is a necessary party for obtaining appropriate relief.
  9   Plaintiff will seek leave to amend when the true names, capacities,
 10   connections, and responsibilities of the Defendants and Does 1 through 10,
 11   inclusive, are ascertained.
 12
 13     JURISDICTION & VENUE:
 14     5. The Court has subject matter jurisdiction over the action pursuant to 28
 15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
 18   of action, arising from the same nucleus of operative facts and arising out of
 19   the same transactions, is also brought under California’s Unruh Civil Rights
 20   Act, which act expressly incorporates the Americans with Disabilities Act.
 21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 22   founded on the fact that the real property which is the subject of this action is
 23   located in this district and that Plaintiff's cause of action arose in this district.
 24
 25     FACTUAL ALLEGATIONS:
 26     8. Plaintiff went to the property to visit Quick'r Print'r in July 2020 with
 27   the intention to avail himself of its services and to assess the business for
 28   compliance with the disability access laws.


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  1     9. Quick'r Print'r is a facility open to the public, a place of public
  2   accommodation, and a business establishment.
  3     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  4   to provide wheelchair accessible parking in conformance with the ADA
  5   Standards as it relates to wheelchair users like the plaintiff.
  6     11. On information and belief, the defendants currently fail to provide
  7   wheelchair accessible parking.
  8     12. Additionally, on the date of the plaintiff’s visit, the defendants failed to
  9   provide wheelchair accessible door hardware in conformance with the ADA
 10   Standards as it relates to wheelchair users like the plaintiff.
 11     13. On information and belief, the defendants currently fail to provide
 12   wheelchair accessible door hardware.
 13     14. Finally, on the date of the plaintiff’s visit, the defendants failed to
 14   provide wheelchair accessible sales counters in conformance with the ADA
 15   Standards as it relates to wheelchair users like the plaintiff.
 16     15. On information and belief, the defendants currently fail to provide
 17   wheelchair accessible sales counters.
 18     16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 19   personally encountered these barriers.
 20     17. As a wheelchair user, the plaintiff benefits from and is entitled to use
 21   wheelchair accessible facilities. By failing to provide accessible facilities, the
 22   defendants denied the plaintiff full and equal access.
 23     18. The failure to provide accessible facilities created difficulty and
 24   discomfort for the Plaintiff.
 25     19. The defendants have failed to maintain in working and useable
 26   conditions those features required to provide ready access to persons with
 27   disabilities.
 28     20. The barriers identified above are easily removed without much


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  1   difficulty or expense. They are the types of barriers identified by the
  2   Department of Justice as presumably readily achievable to remove and, in fact,
  3   these barriers are readily achievable to remove. Moreover, there are numerous
  4   alternative accommodations that could be made to provide a greater level of
  5   access if complete removal were not achievable.
  6     21. Plaintiff will return to Quick'r Print'r to avail himself of its services and
  7   to determine compliance with the disability access laws once it is represented
  8   to him that Quick'r Print'r and its facilities are accessible. Plaintiff is currently
  9   deterred from doing so because of his knowledge of the existing barriers and
 10   his uncertainty about the existence of yet other barriers on the site. If the
 11   barriers are not removed, the plaintiff will face unlawful and discriminatory
 12   barriers again.
 13     22. Given the obvious and blatant nature of the barriers and violations
 14   alleged herein, the plaintiff alleges, on information and belief, that there are
 15   other violations and barriers on the site that relate to his disability. Plaintiff will
 16   amend the complaint, to provide proper notice regarding the scope of this
 17   lawsuit, once he conducts a site inspection. However, please be on notice that
 18   the plaintiff seeks to have all barriers related to his disability remedied. See
 19   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 20   encounters one barrier at a site, he can sue to have all barriers that relate to his
 21   disability removed regardless of whether he personally encountered them).
 22
 23   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 24   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 25   Defendants.) (42 U.S.C. section 12101, et seq.)
 26     23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 27   again herein, the allegations contained in all prior paragraphs of this
 28   complaint.


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  1     24. Under the ADA, it is an act of discrimination to fail to ensure that the
  2   privileges, advantages, accommodations, facilities, goods and services of any
  3   place of public accommodation is offered on a full and equal basis by anyone
  4   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
  5   § 12182(a). Discrimination is defined, inter alia, as follows:
  6            a. A failure to make reasonable modifications in policies, practices,
  7               or procedures, when such modifications are necessary to afford
  8               goods,     services,    facilities,   privileges,    advantages,   or
  9               accommodations to individuals with disabilities, unless the
 10               accommodation would work a fundamental alteration of those
 11               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 12            b. A failure to remove architectural barriers where such removal is
 13               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 14               defined by reference to the ADA Standards.
 15            c. A failure to make alterations in such a manner that, to the
 16               maximum extent feasible, the altered portions of the facility are
 17               readily accessible to and usable by individuals with disabilities,
 18               including individuals who use wheelchairs or to ensure that, to the
 19               maximum extent feasible, the path of travel to the altered area and
 20               the bathrooms, telephones, and drinking fountains serving the
 21               altered area, are readily accessible to and usable by individuals
 22               with disabilities. 42 U.S.C. § 12183(a)(2).
 23     25. When a business provides parking for its customers, it must provide
 24   accessible parking.
 25     26. Here, accessible parking has not been provided in conformance with the
 26   ADA Standards.
 27     27. When a business provides facilities such as door hardware, it must
 28   provide accessible door hardware.


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  1     28. Here, accessible door hardware has not been provided in conformance
  2   with the ADA Standards.
  3     29. When a business provides facilities such as sales counters, it must
  4   provide accessible sales counters.
  5     30. Here, accessible sales counters have not been provided in conformance
  6   with the ADA Standards.
  7     31. The Safe Harbor provisions of the 2010 Standards are not applicable
  8   here because the conditions challenged in this lawsuit do not comply with the
  9   1991 Standards.
 10     32. A public accommodation must maintain in operable working condition
 11   those features of its facilities and equipment that are required to be readily
 12   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 13     33. Here, the failure to ensure that the accessible facilities were available
 14   and ready to be used by the plaintiff is a violation of the law.
 15
 16   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 17   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 18   Code § 51-53.)
 19     34. Plaintiff repleads and incorporates by reference, as if fully set forth
 20   again herein, the allegations contained in all prior paragraphs of this
 21   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 22   that persons with disabilities are entitled to full and equal accommodations,
 23   advantages, facilities, privileges, or services in all business establishment of
 24   every kind whatsoever within the jurisdiction of the State of California. Cal.
 25   Civ. Code §51(b).
 26     35. The Unruh Act provides that a violation of the ADA is a violation of the
 27   Unruh Act. Cal. Civ. Code, § 51(f).
 28     36. Defendants’ acts and omissions, as herein alleged, have violated the


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  1   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  2   rights to full and equal use of the accommodations, advantages, facilities,
  3   privileges, or services offered.
  4      37. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
  5   discomfort or embarrassment for the plaintiff, the defendants are also each
  6   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
  7   (c).)
  8             PRAYER:
  9             Wherefore, Plaintiff prays that this Court award damages and provide
 10   relief as follows:
 11           1. For injunctive relief, compelling Defendants to comply with the
 12   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 13   plaintiff is not invoking section 55 of the California Civil Code and is not
 14   seeking injunctive relief under the Disabled Persons Act at all.
 15           2. Damages under the Unruh Civil Rights Act, which provides for actual
 16   damages and a statutory minimum of $4,000 for each offense.
 17           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 18   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 19
      Dated: July 22, 2020                 CENTER FOR DISABILITY ACCESS
 20
 21
                                           By:
 22
 23                                        ________________________
 24                                               Russell Handy, Esq.
                                                  Attorney for plaintiff
 25
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 27
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